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                             THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH

CRICUT, INC., a Delaware corporation,                      ORDER FOR PRO HAC VICE
                                                               ADMISSION OF
                Plaintiff,                                     PAUL J. REILLY

v.
                                                             Case No. 2:21-cv-00601-DBB
ENOUGH FOR EVERYONE, INC., a Nevada
corporation, and DESIRÉE TANNER, an
                                                                  Judge David Barlow
individual,

                Defendants.
         It appearing to the Court that Petitioner meets the pro hac vice admission requirements of

DUCiv R 83-1.1(d), the motion for the admission pro hac vice of Paul J. Reilly, of Baker Botts

L.L.P., in the United States District Court, District of Utah in the subject case is GRANTED.

         Dated this 20th day of October 2021.



                                                      David Barlow
                                                      United States District Court Judge
